             Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 1 of 18

                                                                          U.S. UIS n~:t. r COURT
                                                                        "'Ul'-T''l{f',-i- ~.. - ,, ....
                                                                          .._ 1 f.,..,L,Ur- r:1\M0NT
                         IN THE UNITED STATES DISTRICT COURT                          r iLt..D
                               FOR THE DISTRICT OF VERMONT              2022 F'£8 I 1 PH I: I I
                                                                                   CLERK
THE CINCINNATI INSURANCE COMPANY
6200 South Gilmore Road
                                                                        BY OEPUf~£RK
Fairfield, Ohio 45014
                  Plaintiff,
             v.
                                                       CIVIL ACTION
TWIN CEDAR MECHANICAL, INC.
156 Alcorn Lane, Suite #1045
Colchester, VT 05446
                                                       CASE NO.: ;;):   a~ c..V- 50
                                                       JURY TRIAL DEMANDED
 and

 BAKER PLUMBING & HEATING, INC.
 1125 Centerville Road
 Hyde Park, VT 05655
                   Defendants.

                                 CIVIL ACTION COMPLAINT

       Plaintiff, The Cincinnati Insurance Company, as subrogee of Brian Smale, by way of Civil

Action Complaint against Defendants, Twin Cedar Mechanical, Inc. and Baker Plumbing &

Heating, Inc., alleges as follows:

                                          THE PARTIES

        1.        Plaintiff, The Cincinnati Insurance Company ("Plaintiff'), as subrogee of Brian

Smale ("Insured), is a corporation organized and existing under the laws of the State of Ohio with

a principal place of business located at 6200 South Gilmore Road, Fairfield, Ohio 45014.

       2.         Defendant, Twin Cedar Mechanical, Inc. ("Twin Cedar"), is a corporation

organized and existing under the laws of the State of Vermont with a registered business address

located at 156 Acom Lane, Suite #1045, Colchester, VT 05446.
              Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 2 of 18




       3.       Defendant, Baker Plumbing & Heating, Inc. ("Baker"), is a corporation organized

and existing under the laws of the State of Vermont with a registered business address located at

1125 Centerville Road, Hyde Park, VT 05655.

                                  JURISDICTION AND VENUE

       4.        Jurisdiction in this Court is based upon diversity of citizenship pursuant to 28

U.S.C. §1332(a)(l) as this action involves a controversy between citizens of different states and

the amount in controversy exceeds the jurisdictional threshold of this Court (exclusive of interest

and costs).

       5.        Venue in this Court is proper pursuant to 28 U.S.C. §139l(a) because a substantial

part of the events or omissions which gave rise to the Plaintiff's claims asserted herein occurred

within the District of Vermont.

       6.        At all times material hereto, Defendant Twin Cedar regularly conducted business

in and maintained substantial and continuous contacts within the District of Vermont.

       7.        At all times material hereto, Defendant Baker regularly conducted business in and

maintained substantial and continuous contacts within the District of Vermont.

                                          BACKGROUND

       8.        At all times material hereto, Plaintiff's Insured was the owner and occupant of the

residential property located at 617 Campbell Road, Morrisville, VT 05661 (the "Home").

       9.        At all times material hereto, Plaintiff was duly authorized to issue policies of

insurance in the State of Vermont.

        10.      At all times material hereto, Plaintiff provided insurance coverage to its Insured for

the Home and the contents therein pursuant to a policy of insurance, 05H0I 0959745 (the "Policy").


                                                   2
             Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 3 of 18




       11.     At all times material hereto, Defendant Twin Cedar was engaged in the business of

performing home construction and improvement services.

       12.     Prior to February 24, 2019, Defendant Twin Cedar was retained to, and undertook

to perform, certain home construction and improvement services at the Home, including, but not

limited to, the installation of ductwork in and around a fireplace and chimney system (the

"Fireplace") at the Home (hereinafter, the "Twin Cedar Services").

       13.     Prior to February 24, 2019, Defendant Twin Cedar performed the Twin Cedar

Services.

       14.     At all times material hereto, Defendant Baker was engaged in the business of

performing home construction and improvement services.

       15.     Prior to February 24, 2019, Defendant Baker was retained to, and undertook to

perform, certain home construction and improvement services at the Home, including, but not

limited to, the modification of a vent shield and installation of ductwork in and around a fireplace

and chimney system (the "Fireplace") at the Home (hereinafter, the "Baker Services").

       16.      Prior to February 24, 2019, Defendant Baker performed the Baker Services.

       17.      On or about February 24, 2019, a fire occurred at the Home (the "Fire") due to the

negligence of Defendant Twin Cedar and/or Defendant Baker, individually, jointly, and/or

severally, in improperly failing to perform the Twin Cedar Services and/or the Baker Services.

       18.      As a result of the negligence of Defendant Twin Cedar and/or Defendant Baker,

individually, jointly, and/or severally, Plaintiff's Insured sustained substantial damage to the

remainder of the Home and the contents therein.




                                                  3
              Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 4 of 18




       19.       As a result of the Fire, and pursuant to the Policy issued to the Insured by Plaintiff,

Plaintiff made payments to, or on behalf of, its Insured in an amount in excess of$351,517.27.

       20.       By virtue of the payments made to, or on behalf of, its Insured, and in accordance

with the terms and conditions of the Policy, Plaintiff is now legally, equitably, and contractually

subrogated to the rights of its Insured as against Defendant Twin Cedar and/or Defendant Baker,

individually, jointly, and/or severally, to the extent of said payments.


                                    COUNT I - NEGLIGENCE
                                (Plaintiff v. Defendant Twin Cedar)

        21.      Plaintiff hereby incorporates the previous paragraphs of this Complaint as if fully

set forth herein at length.

        22.      Defendant Twin Cedar had a duty to perform the Twin Cedar Services at the Home

in a reasonably safe manner so as to prevent and/or avoid reasonably foreseeable harm to others.

        23.      Defendant Twin Cedar had a duty to perform the Twin Cedar Services in a manner

consistent with the standards of care within its profession so as to prevent and/or avoid reasonably

foreseeable harm to others.

        24.      Defendant Twin Cedar had a duty to comply with all local, state, and federal laws,

statutes, ordinances, rules, regulations, and/or codes in performing the Twin Cedar Services so as

to prevent and/or avoid reasonably foreseeable harm to others.

        25.      Defendant Twin Cedar had a duty to comply with all acceptable industry standards

and codes in performing the Twin Cedar Services so as to prevent and/or avoid reasonably

foreseeable harm to others.




                                                    4
             Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 5 of 18




       26.     Defendant Twin Cedar had a duty to comply with all manufacturer's standards,

instructions, procedures, and practices in performing the Twin Cedar Services so as to prevent

and/or avoid reasonably foreseeable harm to others.

       27.     Defendant Twin Cedar, through the acts and omissions of its agents, servants,

workmen, contractors and/or employees, breached its duties of care by performing Twin Cedar

Services in an improper, unreasonable, negligent, and/or careless manner, both generally and

specifically as follows by:

                a.     Failing to exercise reasonable care in performing the Twin Cedar Services;

                b.     Failing to exercise reasonable care in performing the installation of

ductwork in and around the Fireplace at the Home;

                c.     Failing to properly install and inspect the ductwork in and around the

Fireplace;

                d.     Failing to perform the Twin Cedar Services in a careful and workmanlike

manner;

                e.     Failing to properly inspect and identify defects in the Fireplace after

performing the Twin Cedar Services to determine whether said work was performed properly;

                f.     Failing to perform the Twin Cedar Services, including the installation of

ductwork in and around the Fireplace, without providing adequate clearance to combustible

materials;

                g.     Failing to warn the Insured that the Fireplace presented a risk of fire and

harm to the Home and its occupants;




                                                5
            Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 6 of 18




              h.       Failing to properly monitor, supervise, and/or oversee its agents, servants,

workmen, contractors and/or employees to ensure the exercise of reasonable care in performing

the Twin Cedar Services;

              1.       Failing to adequately instruct, train, monitor, supervise, and/or oversee its

agents, servants, workmen, contractors and/or employees as to the proper ways to perform the

Twin Cedar Services;

              J.       Failing to establish, provide, implement, and/or follow proper and adequate

controls so as to ensure the proper performance of the Twin Cedar Services;

              k.       Failing to comply with all local, state, and federal laws, statutes, ordinances,

rules, regulations, and/or codes in performing the Twin Cedar Services;

              1.       Failing to properly monitor, supervise, and/or oversee its agents, servants,

workmen, contractors and/or employees to ensure compliance with all local, state, and federal

laws, statutes, ordinances, rules, regulations, and/or codes in the performance of the Twin Cedar

Services;

               m.      Failing to comply with all acceptable industry standards and codes in the

performance of the Twin Cedar Services;

               n.      Failing to properly monitor, supervise, and/or oversee its agents, servants,

workmen, contractors and/or employees to ensure compliance with all acceptable industry

standards and codes in the performance of the Twin Cedar Services;

               o.      Failing to follow the manufacturer's standards, instructions, procedures and

practices for performing the Twin Cedar Services;




                                                  6
            Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 7 of 18




                   p.   Failing to properly monitor, supervise, and/or oversee its agents, servants,

workmen, contractors and/or employees to ensure compliance with the manufacturer's standards,

instructions, procedures and practices for performing the Twin Cedar Services;

                   q.   Failing to ensure that the Home was in a reasonably safe condition at all

times;

                   r.   Failing to properly monitor, supervise, and/or oversee its agents, servants,

workmen, contractors and/or employees to ensure that the Home was in a reasonably safe condition

at all times;

                   s.   Failing to exercise reasonable care in retaining competent, qualified, and/or

able agents, servants, workmen, contractors and/or employees to properly perform the Twin Cedar

Services;

                   t.   Failing to exercise reasonable care in investigating and/or assessing the

competency, qualifications, level of expertise, and/or skills of its agents, servants, workmen,

contractors and/or employees to properly perform the Twin Cedar Services;

                   u.   Utilizing person(s) and/or entities to perform the Twin Cedar Services when

it knew or should have known that such person(s) and/or entities lacked the requisite, proper,

and/or adequate competency, qualifications, level of expertise, and/or skills to properly perform

said activities;

                   v.   Failing to perform the Twin Cedar Services so as not to create a foreseeable

risk of harm to others or property;




                                                  7
             Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 8 of 18




               w.      Permitting a defective and dangerous condition to exist at the Home that

created an unreasonable risk of harm to others or property, of which it knew, or in the exercise of

reasonable care, should have known; and/or,

               x.      Failing to take necessary and reasonable precautions in order to safeguard

others or property against the risk of harm from fire.

       28.     As a direct, proximate, and foreseeable result of the improper, unreasonable,

negligent, and/or careless conduct of Defendant Twin Cedar as aforesaid, the Fire occurred causing

substantial damage to the remainder of the Home and the contents therein.

       29.     As a direct, proximate, and foreseeable result of the improper, unreasonable,

negligent, and/or careless conduct of Defendant Twin Cedar as aforesaid, Plaintiffs Insured

sustained substantial losses, including damage to property, damage to appurtenant property, loss

of use, interference with quiet enjoyment and stress, distress and emotional upset caused by the

fire and destruction of personal effects.

       30.      As a direct, proximate, and foreseeable result of the improper, unreasonable,

negligent, and/or careless conduct of Defendant Twin Cedar as aforesaid, and pursuant to

insurance policy issued by Plaintiff, Plaintiff made payments to, or on behalf of, its Insured in an

amount in excess of $351,517.27.

       31.      By virtue of the payments made to, or on behalf of, its Insured, and in accordance

with the terms and conditions of the Policy, Plaintiff is now legally, equitably, and contractually

subrogated to the rights of its Insured as against Defendant Twin Cedar, individually, jointly,

and/or severally, to the extent of said payments.




                                                    8
              Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 9 of 18




       WHEREFORE, Plaintiff hereby demands judgment in its favor and against Defendant

Twin Cedar, individually, jointly, severally, and/or in the alternative, in an amount in excess of

$351,517.27, together with pre-judgment interest, post-judgment interest, and such other relief as

this Honorable Court finds proper and just under the circumstances.


                              COUNT II - BREACH OF CONTRACT
                                (Plaintiffv. Defendant Twin Cedar)

        32.     Plaintiff hereby incorporates the previous paragraphs of this Complaint as if fully

set forth herein at length.

        33.     In or around April 13, 2017, Plaintiff's Insured contracted with Donald P. Blake

Jr., Inc. ("Blake") to build and construct the Home.

        34.     Upon information and belief, prior to February 24, 2019, Blake entered into a

written agreement with Defendant Twin Cedar, pursuant to which Defendant Twin Cedar, in

exchange for certain payments, agreed to perform the Twin Cedar Services at the Home. At this

time, Plaintiff is not in possession of a copy of the written contract between Blake and Defendant

Twin Cedar, but, upon information and belief, believes that Defendant Twin Cedar is either in

possession of a copy of the contract and/or is in a superior position to obtain a copy of the contract

such that it is not prejudiced at this time.

        35.     In the alternative, upon information and belief, prior to February 24, 2019, Blake

entered into an oral agreement with Defendant Twin Cedar, pursuant to which Defendant Twin

Cedar, in exchange for certain payments, agreed to perform the Twin Cedar Services at the Home.

        36.     At all times material hereto, Plaintiff's Insured was an intended third-party

beneficiary of the agreement between Blake and Defendant Twin Cedar.




                                                  9
                 Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 10 of 18




       37.          Upon information and belief, in order to induce Blake to enter into the aforesaid

contract, Defendant Twin Cedar represented that it possessed the necessary knowledge, training,

and/or skill to perform the Twin Cedar Services.

           38.      Upon information and belief, the agreement between Blake and Defendant Twin

Cedar included certain implied warranties that the Twin Cedar Services would be performed in a

workmanlike manner, with the necessary knowledge, skill, care, and ability.

           39.      Upon information and belief, all conditions precedent to and all obligations of

Blake under the agreement with Defendant Twin Cedar were performed.

           40.      Defendant Twin Cedar, through the acts and omissions of its agents, servants,

workmen, contractors and/or employees, breached its agreement, including the aforementioned

warranty of workmanlike performance, by failing to properly perform the Twin Cedar Services.

           41.      As a direct and proximate result of Defendant Twin Cedar's breaches as aforesaid,

the Fire occurred causing substantial damage to the remainder of the Home and the contents

therein.

           42.      As a direct and proximate result of Defendant Twin Cedar's breaches as aforesaid,

Plaintiffs Insured sustained substantial losses.


           43.      As a direct and proximate result of Defendant Twin Cedar's breaches as aforesaid,

and pursuant to insurance policy issued by Plaintiff, Plaintiff made payments to, or on behalf of,

its Insured in an amount in excess of$351,517.27.

           44.      By virtue of the payments made to, or on behalf of, its Insured, and in accordance

with the terms and conditions of the Policy, Plaintiff is now legally, equitably, and contractually




                                                    10
              Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 11 of 18




subrogated to the rights of its Insured as against Defendant Twin Cedar, individually, jointly,

and/or severally, to the extent of said payments.

       WHEREFORE, Plaintiff hereby demands judgment in its favor and against Defendant

Twin Cedar, individually, jointly, severally, and/or in the alternative, in an amount in excess of

$351,517.27, together with pre-judgment interest, post-judgment interest, and such other relief as

this Honorable Court finds proper and just under the circumstances.


                                  COUNT III - NEGLIGENCE
                                  (Plaintiffv. Defendant Baker)

        45.      Plaintiff hereby incorporates the previous paragraphs of this Complaint as if fully

set forth herein at length.

        46.       Defendant Baker had a duty to perform the Baker Services inside the Home in a

reasonably safe manner so as to prevent and/or avoid reasonably foreseeable harm to others.

        47.       Defendant Baker had a duty to perform the Baker Services in a manner consistent

with the standards of care within its profession so as to prevent and/or avoid reasonably foreseeable

harm to others.

        48.       Defendant Baker had a duty to comply with all local, state, and federal laws,

statutes, ordinances, rules, regulations, and/or codes in performing the Baker Services so as to

prevent and/or avoid reasonably foreseeable harm to others.

        49.       Defendant Baker had a duty to comply with all acceptable industry standards and

codes in performing the Baker Services so as to prevent and/or avoid reasonably foreseeable harm

to others.




                                                    11
             Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 12 of 18




       50.      Defendant Baker had a duty to comply with all manufacturer's standards,

instructions, procedures, and practices in performing the Baker Services so as to prevent and/or

avoid reasonably foreseeable harm to others.

       51.      Defendant Baker, through the acts and omissions of its agents, servants, workmen,

contractors and/or employees, breached their duties of care by performing Baker Services in an

improper, unreasonable, negligent, and/or careless manner, both generally and specifically as

follows by:

                a.     Failing to exercise reasonable care in performing the Baker Services;

                b.     Failing to exercise reasonable care in performing the installation of

ductwork in and around the Fireplace at the Home;

                c.     Failing to exercise reasonable care in performing the modifications of the

vent shield in and around the Fireplace at the Home;

                d.     Failing to properly install and inspect the ductwork in and around the

Fireplace;

                e.     Failing to perform the Baker Services in a careful and workmanlike manner;

                f.     Failing to properly inspect and identify defects in the Fireplace after

performing the Baker Services to determine whether said work was performed properly;

                g.     Failing to perform the Baker Services, including the installation of

ductwork in and around the Fireplace, without providing adequate clearance to combustible

materials;

                h.     Failing to warn the Insured that the Fireplace presented a risk of fire and

harm to the Home and its occupants;


                                                12
            Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 13 of 18




              1.      Failing to properly monitor, supervise, and/or oversee its agents, servants,

workmen, contractors and/or employees to ensure the exercise of reasonable care in performing

the Baker Services;

              J.      Failing to adequately instruct, train, monitor, supervise, and/or oversee its

agents, servants, workmen, contractors and/or employees as to the proper ways to perform the

Baker Services;

               k.     Failing to establish, provide, implement, and/or follow proper and adequate

controls so as to ensure the proper performance of the Baker Services;

               1.     Failing to comply with all local, state, and federal laws, statutes, ordinances,

rules, regulations, and/or codes in performing the Baker Services;

               m.     Failing to properly monitor, supervise, and/or oversee its agents, servants,

workmen, contractors and/or employees to ensure compliance with all local, state, and federal

laws, statutes, ordinances, rules, regulations, and/or codes in the performance of the Baker

Services;

               n.     Failing to comply with all acceptable industry standards and codes in the

performance of the Baker Services;

               o.     Failing to properly monitor, supervise, and/or oversee its agents, servants,

workmen, contractors and/or employees to ensure compliance with all acceptable industry

standards and codes in the performance of the Baker Services;

               p.     Failing to follow the manufacturer's standards, instructions, procedures and

practices for performing the Baker Services;




                                                 13
              Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 14 of 18




                 q.    Failing to properly monitor, supervise, and/or oversee its agents, servants,

workmen, contractors and/or employees to ensure compliance with the manufacturer's standards,

instructions, procedures and practices for performing the Baker Services;

                 r.    Failing to ensure that the Home was in a reasonably safe condition at all

times;

                 s.    Failing to properly monitor, supervise, and/or oversee its agents, servants,

workmen, contractors and/or employees to ensure that the Home was in a reasonably safe condition

at all times;

                 t.    Failing to exercise reasonable care in retaining competent, qualified, and/or

able agents, servants, workmen, contractors and/or employees to properly perform the Baker

Services;

                 u.    Failing to exercise reasonable care in investigating and/or assessing the

competency, qualifications, level of expertise, and/or skills of its agents, servants, workmen,

contractors and/or employees to properly perform the Baker Services;

                 v.    Utilizing person(s) and/or entities to perform the Baker Services when it

knew or should have known that such person(s) and/or entities lacked the requisite, proper, and/or

adequate competency, qualifications, level of expertise, and/or skills to properly perform said

activities;

                 w.    Failing to perform the Baker Services so as not to create a foreseeable risk

of harm to others or property;




                                                 14
              Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 15 of 18




                x.      Permitting a defective and dangerous condition to exist at the Home that

created an unreasonable risk of harm to others or property, of which it knew, or in the exercise of

reasonable care, should have known; and/or,

                 y.     Failing to take necessary and reasonable precautions in order to safeguard

others or property against the risk of harm from fire.

       52.       As a direct, proximate, and foreseeable result of the improper, unreasonable,

negligent, and/or careless conduct of Defendant Baker as aforesaid, the Fire occurred causing

substantial damage to the remainder of the Home and the contents therein.

       53.       As a direct, proximate, and foreseeable result of the improper, unreasonable,

negligent, and/or careless conduct of Defendant Baker as aforesaid, Plaintiffs Insured sustained

substantial losses, including damage to property, damage to appurtenant property, loss of use,

interference with quiet enjoyment and stress, distress and emotional upset caused by the fire and

destruction of personal effects.

        54.      As a direct, proximate, and foreseeable result of the improper, unreasonable,

negligent, and/or careless conduct of Defendant Baker as aforesaid, and pursuant to insurance

policy issued by Plaintiff, Plaintiff made payments to, or on behalf of, its Insured in an amount in

excess of$351,517.27.

        55.      By virtue of the payments made to, or on behalf of, its Insured, and in accordance

with the terms and conditions of the Policy, Plaintiff is now legally, equitably, and contractually

subrogated to the rights of its Insured as against Defendant Baker, individually, jointly, and/or

severally, to the extent of said payments.




                                                 15
              Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 16 of 18




       WHEREFORE, Plaintiff hereby demands judgment in its favor and against Defendant

Baker, individually, jointly, severally, and/or in the alternative, in an amount in excess of

$351,517.27, together with pre-judgment interest, post-judgment interest, and such other relief as

this Honorable Court finds proper and just under the circumstances.


                              COUNT IV - BREACH OF CONTRACT
                                 (Plaintiffv. Defendant Baker)

        56.      Plaintiff hereby incorporates the previous paragraphs of this Complaint as if fully

set forth herein at length.

        57.      In or around April 13, 2017, Plaintiff's Insured contracted with Donald P. Blake

Jr., Inc. ("Blake") to build and construct the Home.

        58.      Upon information and belief, prior to February 24, 2019, Blake entered into a

written agreement with Defendant Baker, pursuant to which Defendant Baker, in exchange for

certain payments, agreed to perform the Baker Services at the Home. At this time, Plaintiff is not

in possession of a copy of the written contract between Blake and Defendant Baker, but, upon

information and belief, believes that Defendant Baker is either in possession of a copy of the

contract and/or is in a superior position to obtain a copy of the contract such that it is not prejudiced

at this time.

        59.      In the alternative, upon information and belief, prior to February 24, 2019, Blake

entered into an oral agreement with Defendant Baker, pursuant to which Defendant Baker, in

exchange for certain payments, agreed to perform the Baker Services at the Home.

        60.      At all times material hereto, Plaintiff's Insured was an intended third-party

beneficiary of the agreement between Blake and Defendant Baker.




                                                   16
             Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 17 of 18




       61.      Upon information and belief, in order to induce Blake to enter into the aforesaid

contract, Defendant Baker represented that it possessed the necessary knowledge, training, and/or

skill to perform the Baker Services.

       62.      Upon information and belief, the agreement between Blake and Defendant Baker

included certain implied warranties that the Baker Services would be performed in a workmanlike

manner, with the necessary knowledge, skill, care, and ability.

       63.      Upon information and belief, all conditions precedent to and all obligations of

Blake under the agreement with Defendant Baker were performed.

       64.      Defendant Baker, through the acts and omissions of its agents, servants, workmen,

contractors and/or employees, breached its agreement, including the aforementioned warranty of

workmanlike performance, by failing to properly perform the Baker Services.

       65.      As a direct and proximate result of Defendant Baker's breaches as aforesaid, the

Fire occurred causing substantial damage to the remainder of the Home and the contents therein.

       66.      As a direct and proximate result of Defendant Baker's breaches as aforesaid,

Plaintiffs Insured sustained substantial losses.

       67.      As a direct and proximate result of Defendant Baker's breaches as aforesaid, and

pursuant to insurance policy issued by Plaintiff, Plaintiff made payments to, or on behalf of, its

Insured in an amount in excess of $351,517.27.

       68.      By virtue of the payments made to, or on behalf of, its Insured, and in accordance

with the terms and conditions of the Policy, Plaintiff is now legally, equitably, and contractually

subrogated to the rights of its Insured as against Defendant Baker, individually, jointly, and/or

severally, to the extent of said payments.



                                                   17
          Case 2:22-cv-00050-cr Document 1 Filed 02/17/22 Page 18 of 18




       WHEREFORE, Plaintiff hereby demands judgment in its favor and against Defendant

Baker, individually, jointly, severally, and/or in the alternative, in an amount in excess of

$351,517.27, together with pre-judgment interest, post-judgment interest, and such other relief as

this Honorable Court finds proper and just under the circumstances.


                                DEMAND FOR JURY TRIAL

       Plaintiff hereby demand trial by jury in this action.

                Dated at Burlington, Vermont, this _17th_ day of February, 2022.

                                              Respectfully submitted,




                                              Josh a L. Simonds, Esq.
                                              2 Church St., Suite 20
                                              Burlington, VT 05401
                                              (t) (802) 651-5370
                                              jls@burlingtonlawpractice.com




                                                 18
